              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )
vs.                                        )      Case No. 06-106-01-CR-W-GAF
                                           )
ROY T. HUGHES,                             )
                                           )
                     Defendant.            )

                         MOTION TO SUPPRESS EVIDENCE
                              WITH SUGGESTIONS

       COMES NOW the Defendant, Roy T. Hughes, by counsel, Stephen C. Moss,

Assistant Federal Public Defender, in accordance with Rules 12, 41, and 47 of the Federal

Rules of Criminal Procedure and moves this Court to suppress all evidence and testimony

relating to such evidence obtained as a result of his detention and search on August 11, 2005,

on the basis that such evidence was obtained in violation of his Fourth Amendment rights.

In support of this motion, Mr. Hughes offers as follows:

                             SUGGESTIONS IN SUPPORT

       A. Factual circumstances regarding the warrantless detention, frisk, and search
       of Mr. Hughes at a public bus stop on the morning of August 11, 2005.

       At 9:26 a.m. on August 11, 2005, officers with the Kansas City, Missouri Police

Department were dispatched to 8216 Troost Avenue regarding a reported “disturbance.”

Officers observed three individuals at a bus stop located at 82 nd Terrace and Troost Avenue

that apparently matched the description broadcast by the dispatcher. These individuals

included Mr. Hughes, Tasha McGee, and Anthony Jones. Officers conducted a “pedestrian


         Case 4:06-cr-00106-GAF Document 19 Filed 06/19/06 Page 1 of 5
check” of all three individuals, which included handcuffing the individuals and running a

records check on each person. After learning he was on supervision, an officer conducted

a frisk of the Mr. Hughes. During this frisk an officer felt “several hard cylindrical objects”

in the right front pocket of Mr. Hughes’s pants. The officer removed these objects from Mr.

Hughes’s pocket and discovered that the objects were bullets.

       B. Because the police had no reasonable suspicion that he was involved in
       criminal activity, the warrantless detention and search of Mr. Hughes was
       unlawful under the Fourth Amendment. Additionally, even if the detention and
       search of Mr. Hughes was supported by reasonable suspicion, the search of the
       objects in his pocket constituted a search that exceeded the scope of any
       permissible detention and frisk under Terry.

       Mr. Hughes has a right to be free from unreasonable seizures. U.S. CONST. amend.

IV. Mr. Hughes submits that his detention was not lawful under Terry v. Ohio, that the frisk

of his person was not justified by reasonable suspicion that he was armed, and that the search

of the contents of his pocket exceeded the scope of any permissible frisk. For these reasons,

all evidence and testimony obtained from this unlawful detention and search must be

excluded under the exclusionary rule.

       1) The uncorroborated report from an anonymous source regarding a
       disturbance in the area did not establish reasonable suspicion that Mr. Hughes
       was engaged in criminal activity nor did it demonstrate a basis to conclude that
       he was armed and dangerous.

       The Fourth Amendment applies to all seizures of the person, including seizures that

involve only a brief detention short of traditional arrest. United States v. Brignoni-Ponce,

422 U.S. 873, 878 (1975) (citing Davis v. Mississippi, 394 U.S. 721 (1969)). All seizures

must be justified at their inception by reasonable suspicion. Terry v. Ohio, 392 U.S. 1


                                              2

         Case 4:06-cr-00106-GAF Document 19 Filed 06/19/06 Page 2 of 5
(1968). This standard requires some minimal level of objective justification that is more than

an “inchoate and unparticularized suspicion.” United States v. Sokolow, 490 U.S. 1, 7-8

(1989). Simple good faith on the part of the police is not enough. Terry v. Ohio, 392 U.S.

1, 22 (1968).

       Whether a stop is reasonable under the Fourth Amendment depends on whether the

police were aware of particularized, objective facts which, taken together with rational

inferences from those facts, reasonably warranted suspicion that a crime was being

committed. United States v. Beck, 140 F.3d 1129, 1136 (8 th Cir. 1998). The propriety of a

frisk depends on whether the officer has an objectively reasonable belief that a person is

armed and dangerous. Terry, 392 U.S. at 27.

       The actions of Mr. Hughes did not give rise to a reasonable suspicion that he was

engaged in criminal activity. Mere similarities between the description given by a dispatcher

and the physical appearance of Mr. Hughes are not sufficient to demonstrate reasonable

suspicion that he was engaged in criminal activity. See Alabama v. White, 496 U.S. 325, 332

(1990) (finding of reasonable suspicion based on anonymous tip requires police

corroboration and reliability). Second, even if the description was similar, an uncorroborated

report from police dispatch is not sufficient to justify the degree of detention that occurred

in this case. For these reasons, the report of a disturbance in the area was not sufficient to

justify the detention and frisk of Mr. Hughes.

       2. Even if the detention and frisk of Mr. Hughes was justified under the Fourth
       Amendment, the search of his pocket constituted a search that exceeded the
       scope of any permissible frisk under Terry.


                                              3

         Case 4:06-cr-00106-GAF Document 19 Filed 06/19/06 Page 3 of 5
       Searches conducted outside the judicial process are per se unreasonable under the

Fourth Amendment, subject only to a few specifically established and well-delineated

exceptions. Coolidge v. New Hampshire, 403 U.S. 443, 454-455 (1971). The burden is on

the government to show the applicability of any exception. Id. at 455.

       The detection of several “hard cylindrical objects” in the pocket of Mr. Hughes did

not provide the police with any basis to search its contents. Though Terry allows a search

of a suspect’s outer clothing for weapons, a search through the contents of a suspect’s pocket

must be supported by probable cause that the object felt constitutes contraband. See

Minnesota v. Dickerson, 508 U.S. 366, 376 (1993) (police must have probable cause that

object constitutes contraband to justify seizure). Moreover, the incriminating nature of the

contraband must be immediately apparent to the officer; an officer is not free to physically

manipulate the object in an effort to discern its nature. Id. at 379.

       Because the facts relied upon by the police in this case fell short of establishing

reasonable suspicion to detain and search Mr. Hughes, the bullets obtained as a result of this

Fourth Amendment violation must be suppressed. See Wong Sun v. United States, 371 U.S.

471, 484 (1963) (evidence seized during unlawful search cannot be used against victim of

such search). Likewise, any testimony and statements obtained as a direct result of the stop

must be suppressed under the fruit of the poisonous tree doctrine. See id. at 485 (“verbal

evidence which derives so immediately from an unlawful entry and an unauthorized arrest

. . . is no less the ‘fruit’ of official illegality than the more common tangible fruits of the

unwarranted intrusion”).


                                              4

         Case 4:06-cr-00106-GAF Document 19 Filed 06/19/06 Page 4 of 5
       WHEREFORE, the Defendant, Roy T. Hughes requests the court to grant his motion

to suppress evidence in this case.

                                                  Respectfully submitted,

                                                  /s/ STEPHEN C. MOSS
                                                  STEPHEN C. MOSS
                                                  Assistant Federal Public Defender
                                                  818 Grand, Suite 300
                                                  Kansas City, MO 64106
                                                  (816) 471-8282
                                                  ATTORNEY FOR DEFENDANT


                             CERTIFICATE OF SERVICE

       It is hereby CERTIFIED that this motion was filed on this 19 th day of June, 2006, and

that a copy was e-mailed to Bruce Clark, Assistant U. S. Attorney, pursuant to the Electronic

Case Filing System.

                                                  /s/ STEPHEN C. MOSS




                                             5

         Case 4:06-cr-00106-GAF Document 19 Filed 06/19/06 Page 5 of 5
